        Case 19-27068-SLM                      Doc 95         Filed 11/14/24 Entered 11/14/24 13:09:26                      Desc Main
Debtor 1               JOSEPH A. DENOLA
                                                              Document Page 1 ofCase
                                                                                   3 number (if known) 19-27068
                       Name



     Fill in this information to identify the case:


     Debtor 1              JOSEPH A. DENOLA


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for       District of New Jersey
     the:                                                                          (State)
     Case Number:     19-27068



Form 4100N
Notice of Final Cure Payment                                                                                                         10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in
the claim below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                             Court claim no. (if known):
 Name of creditor:                 MIDFIRST BANK                                                             7

 Last 4 digits of any number you use to identify the debtor's account                        9   2   7   9

 Property Address:                             989 GARIBALDI PL
                                               TOWNSHIP OF WASHINGTON, NJ 07676
 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:                                                                              Amount
 .




 a. Allowed prepetition arrearage (or total allowed amount for a mortgage paid in full through the plan):           (a) $21,647.20

     b. Prepetition arrearage paid by the trustee :                                                                 (b) $21,647.20
                                                                                                                          SEE REGISTRY IF
     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):             (c)
                                                                                                                          APPLICABLE

 d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c) and (d) $0.00
    paid by the trustee:
                                                                                                            $30,777.19
 e. Allowed postpetition arrearage:                                                                     (e)
                                                                                                            $30,777.19
 f. Postpetition arrearage paid by the trustee :                                                      + (f)

     g. Total. Add lines b, d, and f.                                                                               (g) $52,424.39


 Part 3:             Postpetition Mortgage Payment

 Check one

          Mortgage is paid through the trustee .


            Mortgage is paid directly by the debtor(s).




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 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within
 21 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full
 the amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees,
 costs, and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all
 postpetition payments as of the date of the response. Failure to file and serve the statement may subject the creditor to
 further action of the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.

              û                                                                          11/14/2024
                                                                                 Date

                    Signature



 Trustee            Marie-Ann Greenberg

 Address            30 TWO BRIDGES ROAD
                    SUITE 330
                    FAIRFIELD, NJ 07004-1550


 Contact phone      (973) 227-2840




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             Name


19-27068

                                         CERTIFICATE OF SERVICE

 I did this date serve the attached document(s) on the parties listed below by placing the same in the United
 States mail with proper postage affixed thereto and addressed as follows:

Debtor(s):
JOSEPH A. DENOLA
989 GARIBALDI PL.
TOWNSHIP OF WASHINGTON, NJ 07676


Debtor(s) Counsel:
SUSAN S. LONG
THE LAW OFFICES OF SUSAN S. LONG
143 EAST RIDGEWOOD AVENUE #985
RIDGEWOOD, NJ 07450

Creditor:
KML LAW GROUP                                              MIDFIRST BANK
701 MARKET STREET                                          999 NORTHWEST GRAND BOULEVARD
SUITE 5000                                                 OKLAHOMA CITY, OK 73118
PHILADELPHIA, PA 19106


Date:      11/14/2024                                     /s/ CharlesDArrigo

                                                              30 TWO BRIDGES ROAD
                                                              SUITE 330
                                                              FAIRFIELD, NJ 07004-1550




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